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                                                                                      BNDRMM,CLOSED
                             U.S. District Court
               Southern District of Florida (West Palm Beach)
     CRIMINAL DOCKET FOR CASE #: 9:23−mj−08237−RMM All Defendants

    Case title: USA v. Brenner                                    Date Filed: 05/10/2023

    Other court case number: 1:23−mj−95 Eastern District of       Date Terminated: 05/10/2023
                             Virginia

    Assigned to: Magistrate Judge
    Ryon M. McCabe

    Defendant (1)
    Michael Brenner                      represented by Matthew Alan Goldberger
    TERMINATED: 05/10/2023                              Matthew A. Goldberger, P.A.
                                                        250 S. Australian Ave, Ste. 1400
                                                        West Palm Beach, FL 33401
                                                        561−346−6405
                                                        Email: Matthew@goldbergerfirm.com
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Temporary

    Pending Counts                                       Disposition
    None

    Highest Offense Level
    (Opening)
    None

    Terminated Counts                                    Disposition
    None

    Highest Offense Level
    (Terminated)
    None

    Complaints                                           Disposition
    Removal of Criminal Complaint
    from Eastern District of Virginia
    for Violation of 21:841(a)(1) and
    846



                                                                                                      1
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    Plaintiff
    USA                                          represented by Brian Ralston
                                                                U.S. Attorneys Office, SDFL
                                                                99 NE 4th Street, 6th floor
                                                                Miami, FL 33132
                                                                Email: brian.ralston@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

     Date Filed   # Page Docket Text
     05/10/2023   1       Magistrate Judge Removal of Criminal Complaint from Eastern District of
                          Virginia Case number in the other District 1:23−mj−95 as to Michael Brenner
                          (1). (spe) (Entered: 05/10/2023)
     05/10/2023   2       NOTICE OF HEARING as to Michael Brenner − Initial Appearance − Rule
                          5(c)(3)/40 set for 5/10/2023 at 10:00 AM in West Palm Beach Division before
                          WPB Duty Magistrate Judge. (spe) (Entered: 05/10/2023)
     05/10/2023   3       NOTICE OF TEMPORARY ATTORNEY APPEARANCE: Matthew Alan
                          Goldberger appearing for Michael Brenner (spe) (Entered: 05/10/2023)
     05/10/2023   4       PAPERLESS Minute Order for proceedings held before Magistrate Judge Ryon
                          M. McCabe: Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to
                          Michael Brenner held on 5/10/2023. Date of Arrest or Surrender: 5/10/2023.
                          Defendant present and sworn. Defendant advised of charges, maximum
                          penalties, and rights. The Court questioned the defendant. The defendant waived
                          removal and identity, form executed and the Court found the waiver knowing
                          and voluntary. Order of Removal signed. Bond set as to Michael Brenner (1)
                          $100,000 PSB w/cosigners. Total time in court: 16 minutes. Attorney
                          Appearance(s): Brian Ralston (AUSA); Matthew Alan Goldberger (Temporary).
                          (Digital 10:15:09) Signed by Magistrate Judge Ryon M. McCabe on 5/10/2023.
                          (spe) (Entered: 05/10/2023)
     05/10/2023   5       WAIVER of Rule 5 & 5.1 Removal/Identity Hearings by Michael Brenner. (spe)
                          (Entered: 05/10/2023)
     05/10/2023   6       $100,000 PSB w/cosigners entered as to Michael Brenner − Approved by
                          Magistrate Judge Ryon M. McCabe. Please see bond image for conditions of
                          release. (spe) (Additional attachment(s) added on 5/10/2023: # 1 Restricted Bond
                          with 7th Page) (spe). (Entered: 05/10/2023)
                          Main Document
                          Attachment # 1 Restricted Bond with 7th Page (Not Attached)
     05/10/2023   7       ORDER OF REMOVAL ISSUED to District of Eastern District of Virginia as to
                          Michael Brenner. Closing Case for Defendant. Signed by Magistrate Judge Ryon
                          M. McCabe on 5/10/2023. See attached document for full details. (spe) (Entered:
                          05/10/2023)




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    MIME−Version:1.0
    From:cmecfautosender@flsd.uscourts.gov
    To:flsd_cmecf_notice
    Bcc:
    −−Case Participants: Brian Ralston (brian.ralston@usdoj.gov, caseview.ecf@usdoj.gov,
    cierra.collier@usdoj.gov, usafls−brdkt@usdoj.gov), Magistrate Judge Ryon M. McCabe
    (mccabe@flsd.uscourts.gov)
    −−Non Case Participants: United States Pretrial, Probation and PSIunit Office (Court Desk)
    (flsp_cd@flsp.uscourts.gov)
    −−No Notice Sent:

    Message−Id:23331706@flsd.uscourts.gov
    Subject:Activity in Case 9:23−mj−08237−RMM USA v. Brenner Notice of Hearing
    Content−Type: text/html

                                              U.S. District Court

                                          Southern District of Florida

    Notice of Electronic Filing


    The following transaction was entered on 5/10/2023 at 9:07 AM EDT and filed on 5/10/2023

    Case Name:       USA v. Brenner
    Case Number:     9:23−mj−08237−RMM
    Filer:
    Document Number: 2(No document attached)
    Docket Text:
     NOTICE OF HEARING as to Michael Brenner − Initial Appearance − Rule 5(c)(3)/40 set for
    5/10/2023 at 10:00 AM in West Palm Beach Division before WPB Duty Magistrate Judge. (spe)


    9:23−mj−08237−RMM−1 Notice has been electronically mailed to:

    Brian Ralston &nbsp &nbsp brian.ralston@usdoj.gov, Caseview.ECF@usdoj.gov, Cierra.Collier@usdoj.gov,
    USAFLS−BRDKT@usdoj.gov

    9:23−mj−08237−RMM−1 Notice has not been delivered electronically to those listed below and will be
    provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


                               CASE NO .:
                                            -----------------
 UNITED STATES OF AMERICA,
                 Plaintiff,
                                                             NOTICE OF TEMPORARY
 V.                                                          APPEARANCE AS COUNSEL



                       Defendant.
                                       I

         COMES NOW      ~fi_
                           1l1~-t~-c.v_ A_,_&u_l_J_Gc_r_9_fr_ _ _ _                            and

 files this temporary appearance as counsel for the above named defendant(s) at initial appearance.

 This appearance is made with the understanding that the undersigned counsel will fulfill any

 obligations imposed by the Court such as preparing and filing documents necessary to

 collateralize any personal surety bond which may be set.

 Counsel's Name (Printed):    ~~ / J6<2-lj If:('
 Counsel's Signature: __,/F-----~
                                --==--------------------
 Address (include City/State/Zip Code):
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 Telephone: _( /J - 6Y1               2J I 7                Florida Bar Number: ~ / ~/ 9
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    MIME−Version:1.0
    From:cmecfautosender@flsd.uscourts.gov
    To:flsd_cmecf_notice
    Bcc:
    −−Case Participants: Matthew Alan Goldberger (matthew@goldbergerfirm.com), Brian Ralston
    (brian.ralston@usdoj.gov, caseview.ecf@usdoj.gov, cierra.collier@usdoj.gov,
    usafls−brdkt@usdoj.gov), Magistrate Judge Ryon M. McCabe (mccabe@flsd.uscourts.gov)
    −−Non Case Participants: Federal Public Defender (fls_ecf@fd.org)
    −−No Notice Sent:

    Message−Id:23332428@flsd.uscourts.gov
    Subject:Activity in Case 9:23−mj−08237−RMM USA v. Brenner Initial Appearance − Rule
    5(c)(3)/Rule 40
    Content−Type: text/html

                                              U.S. District Court

                                          Southern District of Florida

    Notice of Electronic Filing


    The following transaction was entered on 5/10/2023 at 11:21 AM EDT and filed on 5/10/2023

    Case Name:       USA v. Brenner
    Case Number:     9:23−mj−08237−RMM
    Filer:
    Document Number: 4(No document attached)
    Docket Text:
     PAPERLESS Minute Order for proceedings held before Magistrate Judge Ryon M. McCabe:
    Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Michael Brenner held on
    5/10/2023. Date of Arrest or Surrender: 5/10/2023. Defendant present and sworn. Defendant
    advised of charges, maximum penalties, and rights. The Court questioned the defendant.
    The defendant waived removal and identity, form executed and the Court found the waiver
    knowing and voluntary. Order of Removal signed. Bond set as to Michael Brenner (1)
    $100,000 PSB w/cosigners. Total time in court: 16 minutes. Attorney Appearance(s): Brian
    Ralston (AUSA); Matthew Alan Goldberger (Temporary). (Digital 10:15:09) Signed by
    Magistrate Judge Ryon M. McCabe on 5/10/2023. (spe)


    9:23−mj−08237−RMM−1 Notice has been electronically mailed to:

    Brian Ralston &nbsp &nbsp brian.ralston@usdoj.gov, Caseview.ECF@usdoj.gov, Cierra.Collier@usdoj.gov,
    USAFLS−BRDKT@usdoj.gov

    Matthew Alan Goldberger &nbsp &nbsp Matthew@goldbergerfirm.com

    9:23−mj−08237−RMM−1 Notice has not been delivered electronically to those listed below and will be
    provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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                                     UNITED ST ATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                         Case No: 23-mj-8237-RMM

United States of America
       Plaintiff,
        V.
                                                    Charging District's Case No. 1:23-mj-95

MICHAEL BRENNER,
     Defendant.
- - - - - - - - - - - - - - - -I
                      WAIVER OF RULE 5 & 5.1 REMOVAL/IDENTITY HEARINGS

             I understand that I have been charged in another district, the Eastern District of Virginia.
             I have been informed of the charges and of my rights to:
             ( 1)   retain counsel or request the assignment of counsel if I am unable to retain counsel;
             (2)    an identity hearing to determine whether I am the person named in the charges;
             (3)    production of the warrant, a certified copy of the warrant, or a reliable electronic copy of
                    either;
             (4)    a preliminary hearing to determine whether there is probable cause to believe that an
                    offense has been committed, to be held within 14 days of my first appearance if I am in
                    custody and 21 days otherwise, unless I have been indicted beforehand .;
             (5)    a hearing on any motion by the government for detention ;
             (6)    request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead
                    guilty.

             I agree to waive my rights to: (check those that apply)
                CJ An identity hearing and production of the warrant.
                0 A preliminary hearing .
                ~   A detention hearing in the Southern District of Florida.
                ~ An identity hearing, production of the warrant, and any preliminary or detention hearing
                    to which I may be entitled to in this district. I request that those hearings be held in the
                    prosecuting district, at a time set by that court.
             I consent to the issuance of an order requiring my appearance in the prosecuting district where
the charges are pending against me.



                                                                    Defendant's Signature
Date:

                                                                    Ry    . McCabe,
                                                                    UNITED STA TES MAGISTRATE JUDGE



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(Revised 03/2020)


                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                             APPEARANCE BOND: __________________________

                                        CASE NO.: 23-mj-8237-RMM


UNITED STATES OF AMERICA:
                      Plaintiff,
v.                                                           USM # :

Michael Brenner,
                  Defendant,
____________________________________/

I, the undersigned defendant and I or we, the undersigned sureties, jointly and severally acknowledge that we and
our personal representatives, jointly and severally, are bound to pay the United States of America, the sum of
$ 100,000 PSB w/cosigners Scott and Andrea Brenner

                                   STANDARD CONDITIONS OF BOND

The conditions of this bond are that the defendant:

    1. Shall appear before this Court and at such other places as the defendant may be required to appear, in
accordance with any and all orders and directions relating to the defendant’s appearance in this case, including
appearance for violation of a condition of the defendant’s release as may be ordered or notified by this Court or
any other United States District Court to which the defendant may be held to answer or the cause transferred. The
defendant is required to ascertain from the Clerk of Court or defense counsel the time and place of all scheduled
proceedings on the case. In no event may a defendant assume that his or her case has been dismissed unless the
Court has entered an order of dismissal. The defendant is to abide by any judgment entered in such matter by
surrendering to serve any sentence imposed and obeying any order or direction in connection with such judgment.
This is a continuing bond, including any proceeding on appeal or review, which shall remain in full force and
effect until such time as the Court shall order otherwise.

   2. May not travel outside the Southern District of Florida unless otherwise approved by the Court prior to
any such travel. The Southern District of Florida consists of the following counties: Broward, Highlands, Indian
River, Martin, Miami-Dade, Monroe, Okeechobee, Palm Beach and St. Lucie.

   3. May not change his/her present address without prior notification and approval from the U.S. Probation
Officer or the Court.

   4. Must cooperate with law enforcement officers in the collection of a DNA sample if the collection is
required by 42 U.S.C. Section 14135a.

    5. Must not violate any federal, state or local law while on release in this case. Should the defendant come
in contact with law enforcement he/she shall notify the U.S. Probation Officer within 72 hours.



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                                                              DEFENDANT: Michael Brenner
                                                              CASE NUMBER: 23-mj-8237-RMM
                                                              PAGE TWO


                                      SPECIAL CONDITIONS OF BOND

In addition to compliance with the previously stated conditions of bond, the defendant must comply with the
special conditions checked below:

  a. Surrender all passports and travel documents, if any, to Pretrial Services and not obtain any travel documents
      during the pendency of the case; (Defendant has 24 hours to surrender passport).
  b. Report to Pretrial Services as follows: () as directed or___ time(s) a week in person and___ time(s) a week by
      telephone;
  c. Submit to substance abuse testing and/or treatment, contribute to the cost of services rendered based on ability
      to pay, as determined by the U.S. Probation Officer;
  d. Refrain from ____excessive OR ___abstain from alcohol use or any use of a narcotic drug or other controlled
      substance, as defined in section 102 of the Controlled Substances Act (21 U.S.C. §802), without a prescription by
      a licensed medical practitioner;
  e. Participate in a mental health assessment and/or treatment and contribute to the costs of services rendered
      based on ability to pay, as determined by the U.S. Probation Officer;
  f. Employment restriction(s):
  g. Maintain or actively seek full-time employment;
  h. Maintain or begin an educational program;
  i. Avoid all contact with victims or witnesses to the crimes charged, except through counsel. The AUSA shall
      provide defense counsel and pretrial services with the names of all victims or witnesses. The prohibition
      against contact does not take effect until defense counsel receives the list. The prohibition against contact
      applies only to those persons on the list, but the prosecutor may expand the list by sending written notice to
      defense counsel and pretrial services.;
  j. Avoid all contact with co-defendants and defendants in related cases, except through counsel;
  k. Refrain from possessing a firearm, destructive device or other dangerous weapons and shall surrender (if any),
      their concealed weapons permit to the U.S. Probation Office;
  l. None of the signatories may sell, pledge, mortgage, hypothecate, encumber, etc., any real property they own,
      until the bond is discharged, or otherwise modified by the Court;
  m. May not visit commercial transportation establishment: airports, seaport/marinas, commercial bus terminals,
       train stations, etc.;
  n. Defendant shall consent to the U.S. Probation Officer conducting periodic unannounced examinations of the
       defendant’s computer equipment at his/her place of employment or on the computer at his/her residence which
       may include retrieval and copying of all data from the computer(s) and any internal or external peripherals to
       ensure compliance with this condition and/or removal of such equipment for the purpose of conducting a more
       thorough inspection; and consent at the direction of the U.S. Probation Officer to have installed on the defendant’s
       computer(s), at the defendant’s expense, any hardware or software systems to monitor the defendant’s computer
       use;




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                                                          DEFENDANT: Michael Brenner
                                                          CASE NUMBER: 23-mj-8237-RMM
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 o. LOCATION MONITORING PROGRAM: The defendant shall be monitored by the form of location
     monitoring and shall abide by all technology requirements as noted below, as well as contribute to the costs of
     services rendered based on () ability to pay as determined by the U.S. Probation Officer – or – () paid by
     U.S. Probation;
       Location monitoring technology at the discretion of the officer
       Radio Frequency (RF) monitoring (Electronic Monitoring)
       Active GPS Monitoring
       Voice Recognition
       Curfew: You are restricted to your residence every day from_____ to_____, or as directed by the supervising
         officer.
                                                       OR
       Home Detention: You are restricted to your residence at all times except for:
        () medical
        () substance abuse or mental health treatment
        () court appearances
        () attorney visits or court ordered obligations
        () religious services
        () employment
        () other activities as pre-approved by the supervising officer
 p. RESIDENTIAL RE-ENTRY CENTER: The defendant shall reside at a residential re-entry center or
      halfway house and abide by all the rules and regulations of the program. The cost to be paid by ( )Pretrial
      Services or () based on the defendant’s ability to pay. You are restricted to the residential re-entry
      center/halfway house at all times except for:
      () employment
      () education
      () religious services
      () medical, substance abuse, or mental health treatment
      () attorney visits
      () court appearances
      () court ordered obligations
      () reporting to Pretrial Services
      () other ___________________________________________________________________
__ q. Third-Party Custody: _________________________________will serve as a third party custodian and will
      report any violations of the release conditions to the U.S. Probation Officer. Failure to comply with these
      requirements, the third party custodian can be subject to the provisions of 18 U.S.C. § 401, Contempt of
      Court.
__ r. The defendant shall submit his person, property, residence, vehicle, papers, computers, (as defined in 18
      U.S.C. 1030(e)(1)), other electronic communication or data storage devices or media, or office, to a search
      conducted by a United States Probation Officer. The defendant must warn any other occupants that the
      premises may be subject to searches pursuant to this condition. Any search must be conducted at a reasonable
      time and in a reasonable manner.

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                                                          DEFENDANT: Michael Brenner
                                                          CASE NUMBER: 23-mj-8237-RMM
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 s. Mandatory Adam Walsh Conditions: Defendant shall abide by specified restrictions on personal
  associations, place of abode, or travel, to avoid all contact with an alleged victim of the crime and with a
  potential witness who may testify concerning the offense; report on a regular basis to a designated law
  enforcement agency, pretrial services agency or other agency; comply with a specified curfew (with electronic
  monitoring) and refrain from possessing a firearm, destructive device or other dangerous weapons.
 t. Additional Sex Offense Conditions For Defendants Charged or Convicted of a Sexual Offense:
        1. () Defendant may not have contact with victim(s), or any child under the age of 18, unless approved
                  by the Court or allowed by the U.S. Probation Officer.
        2. () The defendant shall not possess or use any data encryption technique or program and shall
                  provide passwords and administrative rights to the U.S. Probation Officer.
        3. () Defendant shall participate in specialized sex offender evaluation and treatment, if necessary,
                  and to contribute to the costs of services rendered based on ability to pay, as determined by
                  the U.S. Probation Office.
        4. () Defendant shall not possess, procure, purchase or otherwise obtain any internet capable device
                  and/or computer. Additionally, the defendant is prohibited from using another individual’s
                  computer or device that has internet capability.
        5. () Defendant is prohibited from establishing or maintaining any email account or social media
                  account. Additionally, the defendant is prohibited from using another individual’s email account
                  or social media account. Must provide monthly or upon request, personal phone and credit card
                  billings to Pretrial Services to confirm there are no services with any internet services provider.
        6. () Defendant is not permitted to enter places where children congregate including, but not limited
                  to any play areas, playgrounds, libraries, children-themed restaurants, daycares, schools,
                  amusement parks, carnivals/fairs, unless approved by the U.S. Probation Officer.
        7. () The defendant shall not be involved in any children’s or youth organizations.
        8. () Defendant is prohibited from viewing, owning, or possessing any obscene, pornographic, or
                  sexually stimulating visual or auditory material, including telephone, electronic media,
                  computer programs, or computer services.
        9. () The defendant shall participate in a maintenance polygraph examination to periodically
                 investigate the defendant’s compliance. The polygraph examination shall specifically address
                 only defendant’s compliance or non-compliance with the special conditions of release and shall
                 not inquire into the facts of the pending criminal case against defendant. The defendant will
                 contribute to the costs of services rendered (co-payment) based on ability to pay or availability
                 of third party payment.
 u. May travel to and from: _____SDFL & EDVA______________, and must notify Pretrial Services of travel
  plans before leaving and upon return.
 v. Comply with the following additional conditions of bond:
     Permission to travel to NDCA for wedding the weekend of May 12-15, 2023.




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                    PENALTIES AND SANCTIONS APPLICABLE TO DEFENDANT

        Violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant
for the defendant’s arrest, a revocation of release, and order of detention, as provided in 18 U.S.C. §3148,
forfeiture of any bail posted, and a prosecution for contempt as provided in 18 U.S.C. §401, which could result
in a possible term of imprisonment or a fine.

       The commission of any offense while on pretrial release may result in an additional sentence upon
conviction for such offense to a term of imprisonment of not more than ten years, if the offense is a felony; or a
term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be
consecutive to any other sentence and must be imposed in addition to the sentence received for the offense itself.

        Title 18 U.S.C. §1503 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine
to intimidate or attempt to intimidate a witness, juror or officer of the court; 18 U.S.C. §1510 makes it a felony
criminal offense punishable by imprisonment and a $250,000 fine to obstruct a criminal investigation; 18 U.S.C.
§1512 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine to tamper with a
witness, victim or informant; and 18 U.S.C. §1513 makes it a felony criminal offense punishable by imprisonment
and a $250,000 fine to retaliate against a witness, victim or informant, or threaten to do so.

         It is a criminal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly
fails to appear as required by the conditions of release, or to surrender for the service of sentence pursuant to a
court order. If the defendant was released in connection with a charge of, or while awaiting sentence, surrender
for the service of a sentence, or appeal or certiorari after conviction for:

    (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
        the defendant shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
    (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the
        defendant shall be fined not more than $250,000 or imprisoned for not more than five years, or both;
    (3) any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two
        years, or both;
    (4) a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one
        year, or both.

        A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail posted,
which means that the defendant will be obligated to pay the full amount of the bond, which may be enforced by
all applicable laws of the United States.




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                                     PENALTIES AND SANCTIONS APPLICABLE TO SURETIES
  Violation by the defendant of any of the foregoing conditions of release will result in an immediate obligation by the surety or sureties
  to pay the full amount of the bond. Forfeiture of the bond for any breach of one or more conditions may be declared by a judicial officer
  of any United States District Court having cognizance of the above entitled matter at the time of such breach, and if the bond is forfeited
  and the forfeiture is not set aside or remitted, judgment may be entered upon motion in such United States District Court against each
  surety jointly and severally for the amount of the bond, together with interest and costs, and execution may be issued and payment
  secured as provided by the Federal Rules of Criminal Procedure and other laws of the United States.

                                                               SIGNATURES
  I have carefully read and I understand this entire appearance bond consisting of seven pages, or it has been read to me, and, if necessary,
  translated into my native language, and I know that I am obligated by law to comply with all of the terms of this bond. I promise to obey
  all conditions of this bond, to appear in court as required, and to surrender for service of any sentence imposed. I am aware of the
  penalties and sanctions outlined in this bond for violations of the terms of the bond.

  If I am an agent acting for or on behalf of a corporate surety, I further represent that I am a duly authorized agent for the corporate surety
  and have full power to execute this bond in the amount stated.

                                                                                           DEFENDA T
  Signed this _ l_0_ _ day of      May                                          2011.__at _ WestPalmBeach_, Florid a               ~               ~~
                                                                                                                               1
  Signed and acknowledged before me:                                                        DEFENDANT: (§ignature) .....:..        ~_;;:,,=--
                                                                                                                       ~.;;._-_ _..;;.           - ----~      <---
                                                                                                                                                                _
                                                                                                                                                   ; ; ,._;;.....
                                                                                                                                                         : : __
  WITNESS:
                  ---------------                                                                fA-q?Af1deJI                                    k
                                                                                                                Cit)J                              State

           City                          State

                                                                            CORPORATE SURETY
  Signed this _ _ _ _ day of _ _ _ _ _ _ _ _ , 20                                            at _ _ _ _ _ _ _ , Florida
  SURETY:                                                                                    AGENT: (Signature) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                             PRINT NAME:
             City                           State

                                                                         INDIVIDUAL SURETIES


  SURETY: (Signature)...,.=--~'-"'t-L-A~         ,l,ot..,1,...1J.laa:::........:::::..._        SURETY: (Signature
~ PRINT NAME:                  b                          J)                                    PRINT NAME:

  RELATIONSIIlP! ~NDANT:                   ~                                                    RELATIONSHIP TO DEFENDANT:
           &Vt~     City
                                       ___.f_
                                            ic- __
                                                      State
                                                                                                       {)ec<e,
                                                                                                         City
                                                                                                                    ft..~CrJ                       State

  Signed   thW{) day of _ _ _ _ _ , 20_ at _ _ __; Florida Signed this _ day of                                                      ,20-   at             Florida
  SURETY: (Signature)                                                                           SURETY: (S ignature)
  PRINT NAME:
                    -----------
              -------------
  RELATIONSHIP TO DEFENDANT:
                                                                                                PRINT NAME:
                                                                                                RELATIONSHIP TO DEFENDANT:

                    City                              State                                              City                                      State

                                                          APPROVAL BY THE COURT

   Date:          5/ 10/2023
                                                                                                 RYON M. McCABE,
                                                                                                 UNITED STATES MAGISTRATE JUDGE

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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    Case No: 23-mj-8237-RMM

United States of America
       Plaintiff,
     V.
                                                 Charging District's Case No. 1:23-mj-95

MICHAEL BRENNER,
     Defendant.
- - - - - - - - - - - - - - - -I
                                        ORDER OF REMOVAL

          It appearing that in the Eastern District of Virginia, a Complaint was filed against the above-
named defendant on a charge of 21:841(a)(l) and 846, and that the defendant was arrested in the
Southern District of Florida and was given a hearing before United States Magistrate Judge Ryon M.
McCabe at West Palm Beach, Florida, which officially committed the defendant for removal to the
Eastern District of Virginia, it is ORDERED AND ADJUDGED that the defendant be removed to the
above-named district for trial on said charge.
          And it further appearing that the defendant waived further hearing in the said removal
proceedings and was held by the Magistrate Judge Ryon M. McCabe for removal and posted bail in the
amount of which was approved by the United States Magistrate Judge Ryon M. McCabe, and it is
further ORDERED that the defendant shall appear in the aforesaid district at such times and places as
may be ordered by that District Court, in accordance with the terms and conditions of aforesaid bond
furnished by the defendant, and it is further ORDERED that the funds, plus interest, which may have
been deposited on behalf of this defendant with the Clerk of the Court under Bail Reform Act be
transferred to the district where removed.
       DONE AND ORDERED at West Palm Beach, Florida on this                /O day of May, 2023.




                                                        Ryon . McCabe,
                                                        United States Magistrate Judge




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